                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                        No. 1:19-bk-02063-HWV
   QUANTUM TRASPORTATION, LLC,                    1:19-bk-02066-HWV
   J.P. DONMOYER, INC., F.T. SILFIES,             1:19-bk-02067-HWV
   INC., ONO TRANSPORT SERVICES,                  1:19-bk-02068-HWV
   INC., FOUNDRY SERVICES                         1:19-bk-02069-HWV
   CORPORATION, INC. AND PRICE                    1:19-bk-02070-HWV
   TRUCKING, INC.
                                                                  Chapter 11

      DEBTORS’ EMERGENCY MOTION FOR ENTRY OF INTERIM AND
     FINAL ORDERS (A) AUTHORIZING THE DEBTORS-IN-POSSESSION
         TO OBTAIN POST-PETITION FINANCING PURSUANT TO
         11 U.S.C. § 364; AND (B) SCHEDULING A FINAL HEARING
                 PURSUANT TO BANKRUPTCY RULE 4001

       The Motion of Quantum Transportation, LLC (“Quantum”), J.P. Donmoyer, Inc.

(“Donmoyer”), Ono Transport Services, Inc. (“Ono”) and Foundry Services Corporation,

Inc. (“FSC”) (individually a “Debtor” and collectively the “Borrowing Debtors”), by and

through its attorneys, Cunningham, Chernicoff & Warshawsky, P.C. for Entry of Interim

and Final Orders (a) Authorizing the Debtors-In-Possession to Obtain Post-Petition

Financing Pursuant to 11 U.S.C. § 364; and (b) Scheduling a Final Hearing Pursuant to

Bankruptcy Rule 4001 (the “Financing Motion”) is as follows:

       1.     On May 13, 2019, the Debtors each filed Voluntary Petitions for Relief

under Chapter 11 of the United States Bankruptcy Code (“Code”). As a result thereof,

each of the Debtors have been appointed debtors-in-possession and manage their assets

and operate their businesses. F.T. Silfies, Inc., an affiliate of the Borrowing Debtors, also

filed a Petition under Chapter 11 on the same date (“Silfies”).




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       2.     J.P. Donmoyer, Inc. is a business corporation which is engaged in the

trucking business which is located in Lebanon County, Pennsylvania. Donmoyer also

owns 100% of FSC.

       3.     Quantum is a limited liability company that owns 100% of Silfies.

       4.     F.T. Silfies, Inc. (“Silfies”) is a business corporation which formerly was

engaged in the trucking business.

       5.     Silfies is the 100% owner of Ono Transport Services, Inc. In turn, Ono

Transport Services, Inc. is the 100% owner of Donmoyer.           Silfies also owns Price

Trucking, Inc. (“Price”).

       6.     Price owns four (4) tractors utilized by other Debtors.

       7.     Pre-Petition, the Debtors had an arrangement with Quality Carriers, Inc.

(“Quality”), whereby Donmoyer, FSC and various affiliates of Donmoyer and Silfies

would provide trucking services to Quality for Quality’s customers. In return, Quality

would pay to Donmoyer and Silfies certain amounts based upon a fee schedule, after

deduction by Quality of certain costs and other charges.

       8.     As part of the arrangement for payment for services provided by Donmoyer

and FSC and its affiliates all payments by Quality were made to an account held by

Silfies.

       9.     Quality is agreeable to continuing the arrangements post-Petition whereby

Donmoyer and Foundry Services Corporation will continue to provide trucking services

to Quality for Quality’s customers.




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       10.    The Borrowing Debtors, with other entities, are entering into an Agreement

of Sale to sell its various personal property, excluding accounts receivable and other

assets. Such proposed buyer is Quality. Quality has also agreed to assume various leases

with respect to tractors and trailers. It is believed that the total value of the transaction as

proposed is at least approximately $13,000,000.00.

       11.    The Debtors are seeking to maintain their assets so as to maximize the

value to be achieved from a sale of the Debtors’ assets. In order to do so, and so as to

allow the Debtors to maintain business relationships, pay its employees and otherwise

finance the expenses of the Debtors, the Debtors need to secure additional financing.

       12.    The Borrowing Debtors set forth above do not have sufficient available

sources of working capital and financing to maintain their assets, or use funds for other

general purposes in the ordinary course of their businesses, as well as satisfy the various

costs which are part of the Chapter 11 cases.

       13.    As a result of the cash needs of the Borrowing Debtors, the Borrowing

Debtors have sought financing on an unsecured and secured basis. The only post-Petition

financing which the Borrowing Debtors have been able to secure is a Debtor-in-

Possession loan from Quality.

       14.    Quality is agreeable to providing financing sufficient to allow the Debtors

to continue to maintain their assets and utilize the funds in accordance with the

Borrowing Debtor’s cash needs as set forth below. The financing to be provided by

Quality to the Borrowing Debtors will be utilized by each of the Borrowing Debtors as is

necessary for the operations of such Debtors and of Silfies post-Petition.




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      15.     This Motion is filed under Sections 105, 361, 363 and 364 of the Code and

Rule 4001(b) and (c) of the Federal Rules of Bankruptcy Procedure. The court has

jurisdiction of this matter pursuant to 28 U.S.C. §§157 and 1334, venue pursuant to 28

U.S.C. §§1408 and 1409 and this matter is a core proceeding pursuant to 28 U.S.C.

§157(b)(2).

                                       PRE-PETITION LIENS

      16.     The only liens of which the Borrowing Debtors are aware as to the assets of

the Debtors which might constitute Cash Collateral is a possible lien against Donmoyer

filed by the Pennsylvania Department of Labor & Industry, Office of Unemployment

Compensation Taxes (“L&I”). Nonetheless, the Borrowing Debtors do not believe that

the filing of the lien by L&I constitutes a lien upon the Debtor’s assets for among other

reasons, as such lien may have been filed within the preference period of time. Also, the

Debtor dispute that it is indebted to L&I in such amount.

      17.     Certain vehicles, rolling stock and other equipment of the Debtors are

subject to liens in favor of Eagle Bank, Mercedes/Deimler and BMO Harris as set forth

on Exhibit B to the Agreement (hereinafter the “Excluded Personal Property”).

      18.     The pre-Petition assets of Donmoyer and FSC, consist of various

equipment, including over-the-road trucks, tractors and trailers.    Such entities have

accounts receivable and cash of a minimal amount.

      19.     The Borrowing Debtors have assets having values as follows:

              a.   Donmoyer owns a minimal amount of Equipment. Donmoyer has
      accounts receivable in a minimal amount. Donmoyer owns FSC which has no
      equity.




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             b.     FSC Equipment having a value of approximately $150,000.00. FSC
       has minimal accounts receivables.

              c.      Ono owns Donmoyer.

             d.     Quantum owns real estate in Nazareth, Pennsylvania, which has a
       value of $800,000.00, on which there is a mortgage lien in the amount of
       approximately $360,000.00.

       20.    As set forth above, it is believed that the lien of L&I does not attach to the

Cash Collateral of Donmoyer.

       21.    It is anticipated that the only entities which will generate new accounts

receivables will be Donmoyer and FSC. While the Debtors do not believe that any entity

has a lien on Cash Collateral, nonetheless, both Donmoyer and FSC have filed Motions to

Approve the Use of Cash Collateral. Such Motions are filed contemporaneously or prior

to this Motion.

                   THE NEED FOR FINANCING AND USE OF CASH

       22.    Donmoyer currently has one hundred eighty-six (186) employees. FSC

currently has twenty-five (25) employees. Silfies does not currently have any employees.

The Debtors are operating and need to retain their employees to continue operations.

       23.    As part of the sale process, the buyer is requesting that the Debtors continue

in operation until closing on the sale of their assets.

       24.    The Debtors have minimal cash on hand and inventory. While the Debtors

have some receivables, generally, it receives weekly payments from Quality for services

rendered on behalf of Quality and expends all such funds by the time of the next weekly

payment from Quality. In the past, the Debtors have suffered losses and Quality has had




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to advance funds. During the period of time within which the Debtors intend to operate,

the Debtors will not have sufficient cash flow with which to continue to operate without

the financing set forth in this Motion.

       25.    As set forth above, the Borrowing Debtors do not have available sufficient

sources of working capital and financing to maintain their assets, use funds for operations

in the ordinary course of business and to continue in Chapter 11 without new financing.

       26.    The Debtors’ various cash needs are set forth on Exhibit “A” which is a

cash flow budget of the Debtors through August, 2019.As the budget sets forth, Debtor-

in-Possession financing is necessary.

       27.    A review of the budget sets forth that the Debtors, at various times, will

have financing needs of up to $1,250,000.00. The Debtors also need an immediate

financing of $500,000.00, which sum is needed within the next fifteen (15) days (the

“Interim Financing”). The Debtors believe they will need up to $1,250,000.00 in total

financing in order for their operations to continue until such time as a sale occurs.

                               PROPOSED FINANCING

       28.    Quality, has offered to extend financing to the Debtors in the total amount

of $1,250,000.00. Attached hereto as Exhibit “B” and made a part hereof is a Debtor-in-

Possession Loan and Security Agreement (the “Loan Agreement”) to be entered into

between Quality and the Debtor setting forth the terms and conditions of such loan.

                            NEED FOR CASH AND TERMS

       29.    The significant terms of the Agreement between the Debtor and Quality are

as follows:




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              a.    Total amount of the proposed financing is $1,250,000.00, with
      $300,000.00 to be provided for immediate financing for the next fifteen (15) days.
      It is intended that such advances will be done on a revolving basis (the “DIP
      Revolving Facility).

             b.      The following fees will be charged as part of the DIP Revolving
      Facility:

                   i.      A facility fee of 200 basis points

                  ii.      An unused fee of 50 basis points.

            c.     The Debtors will pay all reasonable fees and expenses related to
      underwriting documentation, Bankruptcy Court approval, closing, administration
      enforcement of the loan and reasonable fees of loan documentation and
      bankruptcy counsel.

             d.      The Loan Agreement will terminate upon the earlier of either
      approximately ninety (90) days after the Chapter 11 Petition dates or seventy (70)
      days after the Petition Date if an Order approving the sale of the Debtors’ assets to
      Quality has not been entered. Other termination events would include lift stays
      being granted or the conversion of these cases

             e.     The collateral to be granted to Quality as the lender includes all
      existing and after acquired personal property and all other assets of the Borrowing
      Debtors (except for all Chapter 5 causes of action and the proceeds thereof and the
      Excluded Personal Property), as well as all post-Petition assets of the Borrowing
      Debtors.

             f.     Such lien granted to Quality is to have a first priority status, junior
      only to a Carve-Out and certain permitted or existing liens to the extent that any
      exist. The lien is also junior to any fees to the Office of the U.S. Trustee. The
      Loan Agreement provides for a Carve-Out for certain professional fees of the
      Debtors and any Committee and a Chapter 7 Trustee, if any, and fees of the United
      States Trustee, in the total amount of $60,000.00. Chapter 7 expenses, if any, may
      be up to $10,000.00. Such Carve-Out is in addition to any payments set forth in
      the budget to be made to any professionals of the Debtors or any payments to the
      Office of the U.S. Trustee. The Carve-Out for professional fees and fees to the
      Office of the U.S. Trustee shall be in the amount of $100,000.00, which is
      included in the $150,000.00 set forth above.




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                         INTERIM AND FINAL FINANCING

       30.    It is requested that the financing be granted under Section 364(d)(1) of the

Bankruptcy Code as to the assets of the Borrowing Debtors. To the extent that there is

insufficient collateral, Quality is granted a super-priority administrative expenses status

subordinate only to the Carve-Out, which Carve-Out is intended to benefit professionals

and the Office of the U.S. Trustee.

       31.    As set forth above, the Debtor attempted to obtain unsecured financing and

have been unable to do so. Because of the nature of the Debtors’ businesses and the

operations involving Quality, no party is agreeable to lending to the Debtors based upon

the Debtors’ current financial situation, either on an unsecured or secured basis.

       32.    With respect to the providing of financing on a first priority secured status

pursuant to Section 364(d)(1) of the Bankruptcy Code, the Debtors have been unable to

obtain credit without the granting of such liens. As set forth above, the Debtors are

unaware of any liens on its current receivables or Cash Collateral.

       33.    Because of the nature of the loan to the Debtors, in addition to the Cash

Collateral Motions filed by Donmoyer and FSC, it is requested that the Order approving

the financing, both on an interim and final basis, provide that the Debtors shall have the

right to use Cash Collateral conditioned upon compliance with the Budget and providing

for remedies in the event of default and the use of Cash Collateral, including, but not

limited to, notice to the Debtors of any alleged default.

       34.    Quality has acted in good faith in connection with the proposed providing

of the financing set forth in this Motion.       It is therefore requested that the Order




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approving the interim and final financing provide that Quality shall be afforded the

protections of Section 364(e) of the Bankruptcy Code as having acted in good faith such

that any funds which are advanced pursuant to the Interim Order shall not be affected by

any further determination regarding any such advances.

        35.   Set forth above and as set forth in the Budget which is attached hereto as

Exhibit “A” are the cash needs of the Debtors. In order to assure the Debtors of their

continued operations, the Debtors are requesting that it be awarded approval of the

financing set forth above on an interim and emergency basis in an interim amount of

$500,000.00 of the total amount of $1,250,000.00.

        36.   Unless the interim funding is awarded on an emergency basis, the Debtors

will suffer irreparable harm. Further, the Debtors may not be able to close on the sale of

their assets without the financing as the Debtors will not be able to sell its business and

assets as a going concern thereby causing a dimunition in the amount realized from a

sale.

        37.   Bankruptcy Rule 4001(c)(2) provides that this Court may commence a final

hearing on this Motion within fourteen (14) days after service of this Motion; however,

an earlier hearing may be conducted to allow interim borrowing authority to the extent

that authorization of the requested credit is necessary to avoid immediate and irreparable

harm to the Debtors' estate pending a final hearing. The Debtors believe that it is

necessary that it continue to operate so that it can have the ability to move forward as to

the sale of its assets. In the event the Debtors must cease operations, the Debtors believe

the value of their assets will become much lower.




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      38.    Therefore, as set forth above, the Debtors believe that unless the Court set a

hearing date sooner than fourteen (14) days from the date of service of this Motion and

grant interim emergency relief pending the final hearing on the Motion, that its estate

may suffer immediate and irreparable harm pending a final hearing. The Debtors request

that an emergency hearing be set as early as possible on this Motion and that at such

hearing interim authority be granted to the Debtors to borrow $500,000.00.

      39.    The Debtors also requests that at the final hearing on this Motion, that they

be permitted to borrow the $1,250,000.00 set forth above.

      WHEREFORE, Debtors request this Honorable Court enter an order:

             a.     Setting an emergency hearing on this matter at the earlier possible
                    date, with respect to the Debtors’ incurring debt and borrowing
                    money from Quality Carriers, Inc.;

             b.     Providing that Quality Carriers shall have a lien on the personal
                    property of the Borrowing Debtors having priority over all other
                    liens and claims, except for the Carve-Out;

             c.     Providing that Quality Carriers has acted in good faith pursuant to
                    Section 364(e);

             d.     Providing that, to the extent there is insufficient collateral, Quality
                    Carriers shall have an administrative claim having priority over all
                    other administrative claims except for the Carve-Out which Carve-
                    Out is intended to benefit case professionals and fees of the United
                    States Trustee;

             e.     Setting a final hearing on this matter as early as possible on or after
                    fourteen (14) days from the filing date hereof;

             f.     Pending the final hearing on this matter, granting interim authority to
                    the Debtors as set forth in Paragraph (a) and up to the amount of
                    $300,000.00;




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           g.    Authorizing the Debtors entry into and execution of the Debtor-in-
                 Possession Loan and Security Agreement;

           h.    Providing for the entry of an Order in the form requested by the
                 Debtors approving the financing as set forth in the above Motion;

           i.    After the final hearing, grant all relief, borrowing authority and the
                 lien status to Quality Carriers, Inc., as set forth above for the loan in
                 the total amount of $1,250,000.00, and entering an Order in the form
                 requested by the Debtors providing for the lending by Quality
                 Carriers and the use of such funds, including the use of Cash
                 Collateral by the Debtors; and


           j.    Award the Debtors such other and further relief as is just and proper.

                                      Respectfully submitted:

                                      CUNNINGHAM, CHERNICOFF
                                      & WARSHAWSKY, P.C.

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